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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

      ORGANIZED COMMUNITIES AGAINST                 )
      DEPORTATIONS, et al.,                         )
                                                    )
                                                    )      Case No. 25-cv-868
                         Plaintiffs,                )      The Hon. John F. Kness
                                             v.     )
                                                    )
                                                    )
       DONALD TRUMP, in his official                )
       capacity as President of the United States, )
       et al.,                                      )
.                                                   )
                                                    )
                          Defendants.               )


     NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFFS’ CLAIMS

      The Plaintiffs Organized Communities Against Deportations, Brighton Park

Neighborhood Council, Illinois Coalition for Immigrant and Refugee Rights, and

Raise the Floor Alliance (“Plaintiffs”) move to voluntarily dismiss their claims

without prejudice with each party bearing its own costs and fees. In support of this

voluntary dismissal, the Plaintiffs state as follows:

      1.     The Plaintiffs filed this action seeking a court order that would prevent

federal officials from threatening and/or executing Chicago-based immigration raids

for the unlawful purpose of targeting and ultimately destroying the Sanctuary City

movement.

      2.     On Sunday, January 26, 2025, the Defendants launched ongoing

Chicago-based immigration enforcement raids. In the process, they appear to have
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violated the rights of community members, including in the neighborhoods where

Plaintiffs and their members both live and work.

      3.     Further, on February 6, 2025, the United States sued the State of

Illinois, the City of Chicago, and Cook County and its officials, alleging that their

sanctuary policies are blocking federal authorities from enforcing immigration laws.

      4.     In light of these developments, the Plaintiffs voluntarily dismiss their

claims without prejudice, with each side bearing its own costs. While Plaintiffs’ fact-

finding of the federal government’s Chicago-based immigration enforcement remains

ongoing, the status quo has changed since Plaintiffs filed their complaint and request

for emergency relief. While this is no longer the appropriate forum to seek relief, the

Plaintiffs’ voluntary dismissal should not be interpreted as an abandonment of their

efforts to contest the federal administration’s unlawful attempts to silence them.

Instead, Plaintiffs will continue to fight in other forums to ensure that their statutory

and constitutional rights are upheld and that they are able to continue their

Sanctuary City advocacy and movement work.



                    Respectfully submitted,

                                               /s/ Daniel Massoglia

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                         CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of this document was filed using the

Court’s CM/ECF system on February 26, 2025, which generates electronic notice to

counsel of record.



                                Respectfully submitted,

                                                       Daniel Massoglia




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